Case 1:17-bk-12408-MB    Doc 61 Filed 09/22/17 Entered 09/22/17 09:14:46     Desc
                          Main Document     Page 1 of 8


 1   AARON CRAIG (State Bar No. 204741)
     Email: acraig@kslaw.com
 2   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 3   Los Angeles, CA 90071
 4   Telephone: 213-443-4355
     Facsimile: 213-443-4310
 5
     PAUL K. FERDINANDS
 6   Email: pferdinands@kslaw.com
     JEFFREY R. DUTSON
 7
     Email: jdutson@kslaw.com
 8   KING & SPALDING LLP
     1180 Peachtree Street
 9   Atlanta, GA 30309
     Telephone: 404-572-4600
10   Facsimile: 404-572-5100
11
     Attorneys for BIG TIME PRODUCTS, LLC
12
                           UNITED STATES BANKRUPTCY COURT
13                          CENTRAL DISTRICT OF CALIFORNIA
                             SAN FERNANDO VALLEY DIVISION
14

15
     In re:                                  :   Lead Case No.: 1:17-bk-12408-MB
16                                           :   Jointly administered with:
     IRONCLAD PERFORMANCE WEAR               :   1-17-bk-12409-MB
17   CORPORATION, a California corporation, :    Chapter 11 Cases
                                             :
18          Debtor and Debtor in Possession. :
                                             :
19
     In re:                                  :   OBJECTION OF BIG TIME
20                                           :   PRODUCTS, LLC TO DEBTORS’
     IRONCLAD PERFORMANCE WEAR               :   MOTION FOR ORDER APPROVING
21   CORPORATION, a Nevada corporation,      :   BIDDING PROCEDURES
                                             :
22          Debtor and Debtor in Possession. :   DATE:        September 25, 2017
23                                           :   TIME:        2:00 p.m.
                                             :   PLACE:       Courtroom “303”
24                                           :                21041 Burbank Blvd.
                                             :                Woodland Hills, CA
25                                           :
                                             :
26                                           :
27                                           :
     ____________________________________:
28
Case 1:17-bk-12408-MB       Doc 61 Filed 09/22/17 Entered 09/22/17 09:14:46                 Desc
                             Main Document     Page 2 of 8


 1          Big Time Products, LLC (“BTP”), a potential competing bidder for the Debtors’ assets,

 2   hereby files this objection (this “Objection”) to Debtors’ Motion for an Order: (1) Approving

 3   Form of Asset Purchase Agreement for Stalking Horse Bidder and for Prospective Overbidders to

 4   Use, (2) Approving Auction Sale Format, Bidding Procedures, and Stalking Horse Bid

 5   Protections; (3) Approving Form of Notice to be Provided to Interested Parties; and (4)

 6   Scheduling a Court Hearing to Consider Approval of the Sale to the Highest Bidder (Dkt. No. 10)

 7   (the “Motion”).1 In support of this Objection, BTP respectfully states as follows:

 8                                                    I.

 9                                   PRELIMINARY STATEMENT

10          BTP is a potential competing bidder for the Debtors’ assets, and BTP has performed

11   substantial due diligence regarding the Debtors’ business. BTP does not object to the entry of an

12   order establishing procedures for the sale, but those procedures should be fair, should encourage

13   bidding (not chill it), should create a “level playing field” for competing bidders, and should be

14   designed to maximize the value of the Debtors’ assets. Certain aspect of the Debtors’ proposed

15   bidding procedures are contrary to those purposes.

16          In this case, Radians Wareham Holding, Inc. (the “Loan To Own Bidder”) is seeking to

17   execute an aggressive loan-to-own strategy and has used its leverage to force the Debtors to agree

18   to bidding procedures that will chill bidding. The Loan To Own Bidder acquired the Debtors’

19   secured debt (which was already in default) prior to the commencement of the bankruptcy cases

20   and commenced sweeping the Debtors’ cash. This caused a liquidity crisis that apparently

21   permitted the Loan To Own Bidder to extract significant concessions from the Debtors that will

22   chill any potential bidding. First, the proposed bidding procedures (the “Bidding Procedures”)

23   require that prospective overbidders submit a cash deposit of $2 million, which is twice as high as

24   the $1 million deposit paid by the Loan To Own Bidder. Second, the Bidding Procedures’

25   treatment of the Breakup-Fee is confusing and inconsistent. Third, the Bidding Procedures

26   provide that the bids submitted by prospective overbidders be either $15,750,000 or $20,750,000,

27
     1
28     Capitalized terms used but not defined in this Objection shall have the meanings ascribed to
     them in the Motion.

                                                     -2-
Case 1:17-bk-12408-MB         Doc 61 Filed 09/22/17 Entered 09/22/17 09:14:46                  Desc
                               Main Document     Page 3 of 8


 1   “depending on the occurrence of an event, which is sensitive and is the subject of a motion that

 2   the Debtors are filing under seal” (Dkt. No. 6, ¶ 27); the Bidding Procedures provide no

 3   indication as to when this contingency will be resolved. Accordingly, competing bidders have no

 4   way of knowing the actual purchase price that they must submit. Finally, the Bidding Procedures

 5   provide for a Breakup-Fee in the amount of $500,000, but the Breakup-Fee is unnecessary in

 6   these cases because the Loan To Own Bidder is executing an aggressive loan-to-own strategy and

 7   does not need any “incentive” to serve as the stalking horse.

 8                                                      II.

 9                                              BACKGROUND

10          A. The Bankruptcy and Bidding Procedures

11          On September 7, 2017, the Debtors each filed a voluntary petition for relief under Chapter

12   11 of the Bankruptcy Code. On September 11, 2017, the Debtors filed the Motion seeking

13   approval of the Bidding Procedures.

14          The Bidding Procedures are summarized on pages 11–14 of the Motion and include the

15   following:

16               “The initial bid over that [sic] submitted by [the Loan To Own Bidder] in the APA
                  shall be in the amount of at least $20,750,000.00 if [the Loan To Own Bidder’s]
17                Aggregate Purchase Price is Twenty Million Dollars ($20,000,000) and shall be in the
18                amount of at least $15,750,000 if [the Loan To Own Bidder’s] Aggregate Purchase
                  Price is Fifteen Million Dollars ($15,000,000).” (Motion 11, ¶ 1.)
19
                 “In order to be eligible to participate in the Auction, prospective overbidders will be
20                required at least three business days prior to the Auction . . . to: . . . submit a cash
                  deposit of $2 million . . . .” (Motion 12, ¶ 4.)
21

22               “The Debtors shall have the right to schedule the Auction so that the payment of the
                  Breakup-Fee to [the Loan To Own Bidder] will not be considered in determining the
23                highest price bid for the Assets. However, [the Loan To Own Bidder] shall be
                  authorized to match any qualified overbid and be declared the successful purchaser of
24                the Purchased Assets giving consideration in the amount of the required Breakup-Fee
25                and Prepayment Fee as a component of its matching bid . . . .” (Motion 13, ¶ 9.)

26

27

28


                                                       -3-
Case 1:17-bk-12408-MB        Doc 61 Filed 09/22/17 Entered 09/22/17 09:14:46               Desc
                              Main Document     Page 4 of 8


 1            B. The Loan To Own Bidder’s Prepetition Conduct

 2            The Loan To Own Bidder was not the Debtors’ original prepetition secured lender. On

 3   July 25, 2017, the Loan To Own Bidder acquired the Debtors’ prepetition secured debt from

 4   Capital One, N.A. (Omnibus Decl. of L. Geoff Greulich in Support of Debtors’ Emergency

 5   “First Day” Motions (Dkt. No. 6) (“Greulich Declaration”), ¶ 4.) The Debtors and the Loan To

 6   Own Bidder then entered into a series of forbearance agreements that ultimately expired on

 7   August 24, 2017. (Id. at ¶ 17.) Although the Debtors were in the middle of a marketing process

 8   and were in discussions with several prospective lenders and prospective buyers, the Loan To

 9   Own Bidder began exercising remedies upon the expiration of the forbearance period and started

10   “sweeping” the Debtors’ cash. (Id.) Due to this liquidity crisis that was orchestrated by the Loan

11   To Own Bidder, the Debtors had no choice but to cease discussions with other potential buyers

12   and negotiate a purchase agreement and DIP credit facility with the Loan To Own Bidder. (Id. at

13   ¶ 18.)

14                                                    III.

15                                              ARGUMENT

16            Having created an artificial liquidity crisis for the Debtors, the Loan To Own Bidder

17   forced the Debtors to agree to Bidding Procedures that are designed to chill bidding. The Motion

18   should be denied or the Bidding Procedures should be revised to ensure that the prospective

19   overbidders are bidding on a fair and level playing field. See In re Edwards, 228 B.R. 552, 561

20   (Bankr. E.D. Pa. 1998) (“The purpose of procedural bidding orders is to facilitate an open and fair

21   public sale designed to maximize value for the estate.”). BTP objects to four aspects of the

22   Bidding Procedures.

23            First, as noted above, the Loan To Own Bidder was only required to post a good faith

24   deposit in the amount of $1,000,000. (See Section 2.2 of the Stalking Horse Asset Purchase

25   Agreement, Ex. A to Greulich Declaration.) However, the Bidding Procedures require that

26   prospective overbidders submit a cash deposit that is twice that amount (i.e., $2,000,000). The

27   Debtors do not provide any reason why the deposit for prospective overbidders must be larger

28


                                                      -4-
Case 1:17-bk-12408-MB        Doc 61 Filed 09/22/17 Entered 09/22/17 09:14:46                 Desc
                              Main Document     Page 5 of 8


 1   than the deposit posted by Loan To Own Bidder, and it is standard, market practice for the deposit

 2   requirements to be identical.

 3          Second, the treatment of the Breakup-Fee in the Bidding Procedures is confusing and

 4   ambiguous. The Bidding Procedures provide that the Debtors “shall have the right to schedule

 5   the Auction so that the payment of the Breakup-Fee to [the Loan To Own Bidder] will not be

 6   considered in determining the highest price bid for the Assets.” (Motion 12, ¶ 4.) Far from

 7   setting clear rules that all prospective bidders can understand, this purports to give the Debtors the

 8   right (at their discretion) to exclude the Breakup-Fee from consideration. However, this is

 9   inconsistent with the provision immediately following that statement, which provides: “However,

10   Radians shall be authorized to match any qualified overbid and be declared the successful

11   purchaser of the Purchased Assets giving consideration in the amount of the required Breakup-

12   Fee and Prepayment Fee as a component of its matching bid . . . .” (emphasis added) (Id.) It is

13   highly unusual (if not unprecedented) for a stalking horse purchaser to be permitted to “match”

14   potential overbidders. Why would any prospective overbidder submit a competing bid if the

15   stalking horse purchaser always has the ability to match its bid and be “declared the successful

16   purchaser.” In order to be the prevailing bidder at the Auction, the Loan To Own Bidder should

17   be required to submit a valid overbid that is higher than the otherwise next highest bid.

18          Third, there is no clarity in the Bidding Procedures regarding the purchase price that must

19   be submitted by a prospective overbidder. The proposed Bidding Procedures provide that the

20   overbid purchase price must be either $20,750,000 or $15,750,000 depending on the ultimate

21   stalking horse purchase price. But the stalking horse purchase price is not known at this time and

22   the Bidding Procedures do not state when the purchase price will be known. Competing bidders

23   should not be required to submit overbids until after this uncertainty/contingency has been

24   resolved. This uncertainty chills bidding and discourages other bidders from participating in the

25   sale process.

26          Fourth, the Breakup-Fee sought in the Motion is unnecessary. The Loan To Own Bidder

27   currently holds the Debtors’ prepetition secured debt and is the DIP lender. In light of the Loan

28   To Own Bidder’s aggressive prepetition conduct, it is clear that the Loan To Own Bidder is


                                                      -5-
Case 1:17-bk-12408-MB       Doc 61 Filed 09/22/17 Entered 09/22/17 09:14:46                Desc
                             Main Document     Page 6 of 8


 1   executing a loan-to-own strategy and does not need the Breakup-Fee to “induce” it to serve as the

 2   stalking horse.2

 3
                                                     IV.
 4
                                              CONCLUSION
 5

 6           The foregoing aspects of the Bidding Procedures benefit the Loan To Own Bidder at the
 7   expense of the Debtors’ estates. They do not create a level playing field and will chill bidding
 8   and discourage other prospective overbidders from participating in the sale process. Accordingly,
 9   BTP respectfully requests that this Court enter an order denying the Motion and granting such
10   other and further relief as the Court deems just, reasonable and proper.
11   Dated: September 22, 2017             KING & SPALDING LLP
12

13                                         By:      /s/ Aaron Craig
                                                 Aaron Craig
14                                               Attorneys for BIG TIME PRODUCTS, LLC
15
     KING & SPALDING LLP
16   633 West Fifth Street, Suite 1700
     Los Angeles, CA 90071
17   Telephone: 213-443-4355
     Facsimile: 213-443-4310
18   Email: acraig@kslaw.com
19
     -and-
20
     Paul K. Ferdinands
21   Email: pferdinands@kslaw.com
     Jeffrey R. Dutson
22   Email: jdutson@kslaw.com
23   1180 Peachtree Street
     Atlanta, GA 30309
24   Telephone: 404-572-4600
     Facsimile: 404-572-5100
25
     2
26     In support of the Breakup Fee, the Debtors cite several cases, including In re Dan River, Inc.,
     No. 04-10990 (Bankr. N.D. Ga.) and In re Lake Burton Development, LLC, No. 09-22830 (Bankr.
27   N.D. Ga.). Counsel to BTP participated in both of those cases (Dan River – debtors’ counsel,
     Lake Burton – Court-approved stalking horse purchaser). Although a breakup fee was authorized
28   in each case, the bidding procedures in those cases did not include the bid-chilling provisions that
     the Debtors seek here and the stalking horse was not executing a loan-to-own strategy.

                                                      -6-
Case 1:17-bk-12408-MB        Doc 61 Filed 09/22/17 Entered 09/22/17 09:14:46                 Desc
                              Main Document     Page 7 of 8


 1                                         PROOF OF SERVICE
                            In re: Ironclad Performance Wear Corporation, et al.
 2                                     United States Bankruptcy Court
                                         Central District of California
 3                                      San Fernando Valley Division

 4           I, the undersigned, declare: I am a citizen of the United States, over 18 years of age and
     not a party to the within action. I am employed in the County of Los Angeles; my business
 5   address is 633 West Fifth Street, Suite 1700, Los Angeles, CA 90071.

 6           On the date specified below, I served a copy of the foregoing document described as:

 7   OBJECTION OF BIG TIME PRODUCTS, LLC TO DEBTORS’ MOTION FOR ORDER
     APPROVING BIDDING PROCEDURES
 8
     on the interested parties in this action
 9
     [ X ] by causing to be placed [ ] the original [ X ] a true copy thereof enclosed in a sealed
10   envelope addressed as follows:

11                                   SEE ATTACHED SERVICE LIST

12   [X ] BY MAIL: I am readily familiar with the business practice for the collection and
     processing of correspondence for mailing with the United States Postal Service and the fact that
13   the correspondence would be deposited with the United States Postal Service that same day in the
     ordinary course of business; on this date, the above-referenced correspondence was placed for
14   deposit at Los Angeles, California, and placed for collection and mailing following ordinary
     business practices.
15
     [X ] BY ELECTRONIC MAIL: I caused the document(s) to be sent to the person(s) at their e-
16   mail address(es).

17   [ ]     BY FACSIMILE: I caused the attached document(s) to be transmitted to the interested
     party(ies) in this action by faxing a true copy from facsimile telephone number (213) 443-4310.
18   The document(s) was/were transmitted by facsimile transmission and the transmission was
     reported as complete and without error. The transmission report was properly issued by the
19   transmitting facsimile machine.

20   [ ]     BY OVERNIGHT DELIVERY: I enclosed the documents in a sealed envelope or
     package provided by United Parcel Service and addressed to the person(s) listed below by placing
21   the envelope or package(s) for collection and transmittal by United Parcel Service pursuant to my
     firm’s ordinary business practices, which are that on the same day a United Parcel Service
22   envelope or package is placed for collection, it is deposited in the ordinary course of business
     with United Parcel Service for overnight delivery, with all charges fully prepaid.
23
              I declare under penalty of perjury under the laws of the State of California that the above
24   is true and correct.

25           Executed on this 22nd day of September, 2017 at Los Angeles, California.

26                                                 /s/ Aaron Craig
                                                   Aaron Craig
27

28


                                                      -7-
Case 1:17-bk-12408-MB      Doc 61 Filed 09/22/17 Entered 09/22/17 09:14:46         Desc
                            Main Document     Page 8 of 8


 1                                            SERVICE LIST

 2   Served Electronically and by U.S Mail:
 3    Ron Bender                                    Russell Clementson
      rb@lnbyb.com                                  russell.clementson@usdoj.gov
 4    Monica Y Kim                                  915 Wilshire Boulevard
      myk@lnbrb.com                                 Suite 1850
 5    Krikor J Meshefejian                          Los Angeles, CA 90017
      kjm@lnbrb.com                                 Telephone: 213-894-4505
 6    LEVENE, NEALE, BENDER, YOO &                  Fax : 213-894-0276
      BRILL L.L.P
 7    10250 Constellation Boulevard                 S. Margaux Ross
      Suite 1700                                    margaux.ross@usdoj.gov
 8    Los Angeles, CA 90067                         915 Wilshire Boulevard
      Telephone: 310-229-1234                       Suite 1850
 9    Fax : 310-229-1244                            Los Angeles, CA 90017
                                                    Telephone: 213-894-4494
10    Attorneys for Debtors IRONCLAD                Fax : 213-894-0276
      PERFORMANCE WEAR CORPORATION,
11    a California corporation and IRONCLAD Attorneys for United States Trustee
      PERFORMANCE WEAR CORPORATION,
12    a Nevada corporation
13    Sharon Z. Weiss
      sharon.weiss@bryancave.com
14    BRYAN CAVE LLP
      120 Broadway, Suite 300
15    Santa Monica, CA 90401-2386
      Telephone: (310) 576-2100
16    Fax: (310) 576-2200 Attorney for RADIANS
      WAREHAM HOLDINGS, INC.
17

18   Served by U.S. Mail only:

19    The Honorable Martin R. Barash
      Judge, United States Bankruptcy Court
20    21041 Burbank Boulevard
      Woodland Hills, CA 91367
21

22

23

24

25

26

27

28


                                                  -8-
